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                            UNITED STATES OF AMERICA
                                DISTRICT OF MAINE


UNITED STATES OF AMERICA                  )
                                          )
               v.                         )      1:24-mj-00074-JCN
                                          )
BENJAMIN BROWN,                           )
                                          )
                     Defendant            )


                     CONDITIONAL ORDER OF DETENTION

       Defendant appeared before this Court on March 12, 2024, for an initial appearance.

The Government filed a Motion for Detention. (ECF No. 7.) Pursuant to the parties’

agreement, on March 14, 2024, the Court continued the hearing on the motion for

detention. On March 22, 2024, Defendant filed an unopposed Motion for Psychiatric

Exam, which motion the Court granted on March 26, 2024. (Motion, ECF No. 21; Order,

ECF No. 22.)

       The parties agree that a conditional order of detention is appropriate pending the

results of the examination. Accordingly, the Court grants the motion for detention. The

Court orders that upon conclusion of the examination, subject to his ability to reopen the

hearing on the issue of detention pursuant to statute, Defendant is conditionally committed

to the custody of the Attorney General or his designated representative for confinement in

a corrections facility separate, to the extent practicable, from persons awaiting or serving

sentences or being held in custody pending appeal.         Defendant shall be afforded a

reasonable opportunity for private consultation with defense counsel. On order of a court
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of the United States or on request of an attorney for the Government, the person in charge

of the corrections facility shall deliver the defendant to the United States Marshal for the

purposes of an appearance in connection with a court proceeding.

                                          /s/ John C. Nivison
                                          U.S. Magistrate Judge

Dated this 5th day of April, 2024.




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